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                                                   Monday, 23 October, 2017 02:16:37 PM
                                                            Clerk, U.S. District Court, ILCD
               IN THE UNITED STATES DISTRICT COURT
                   CENTRAL DISTRICT OF ILLINOIS
                       SPRINGFIELD DIVISION

MICHAEL GRAGG and                       )
TRACEY GRAGG,                           )
                                        )
     Plaintiffs,                        )
                                        )
          v.                            )      No. 17-cv-3195
                                        )
SIU PHYSICIANS & SURGEONS,              )
et al.,                                 )
                                        )
     Defendants.                        )

                                 ORDER

SUE E. MYERSCOUGH, U.S. District Judge:

     This matter comes before the Court on the Report and

Recommendation of United States Magistrate Judge Tom Schanzle-

Haskins (d/e 5). The Court ADOPTS the Report and

Recommendation.

     On September 14, 2017, Plaintiffs Michael Gragg and Tracey

Gragg filed a pro se Complaint (d/e 1) against SIU Physicians &

Surgeons, Quanada Women’s Shelter, Memorial Health Systems,

and Central Illinois Kidney and Dialysis Center alleging medical

malpractice. Plaintiffs also filed a Motion for Leave to Proceed in

District Court Without Prepaying Fees or Costs (d/e 2).

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     Judge Schanzle-Haskins reviewed Plaintiffs’ Complaint and

Motion for Leave. Judge Schanzle-Haskins recommends that this

Court deny the Motion for Leave to Proceed in District Court

Without Prepaying Fees or Costs filed by Plaintiffs Michael Gragg

and Tracey Gragg and dismiss the cause for failure to state a claim

upon which relief may be granted.

     Objections to the Report and Recommendation were due

within 14 days of service of a copy of the Report and

Recommendation. A copy of the Report and Recommendation was

mailed to Plaintiffs on September 27, 2017.

     When a party must act within a specified time after service is

made by mail, three days are added to the time period. See Fed. R.

Civ. P. 6(d); see also Fed. R. Civ. P. 5(b)(2)(C) (providing that a party

is served by mailing the document to the person’s last known

address, in which case service is complete upon mailing).

Therefore, Plaintiffs’ objections were due on or before October 16,

2017. Plaintiffs failed to file any objections.

     Pursuant to Federal Rule of Civil Procedure 72(b)(3), the Court

Amay accept, reject, or modify the recommended disposition; receive

further evidence; or return the matter to the magistrate judge with

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instructions.@ Fed. R. Civ. P. 72(b)(3). The Court reviews de novo

any part of the Report and Recommendation to which a proper

objection has been made. Fed. R. Civ. P. 72(b)(3). AIf no objection

or only partial objection is made, the district court judge reviews

those unobjected portions for clear error.@ Johnson v. Zema Sys.

Corp., 170 F. 3d 734, 739 (7th Cir. 1999) (also noting that a party

who fails to object to the report and recommendation waives

appellate review of the factual and legal questions).

     Judge Schanzle-Haskins found that Plaintiff’s Complaint failed

to state a claim because (1) Plaintiffs cannot bring a 42 U.S.C.

§ 1983 claim against defendants who are not state actors; (2) even if

SIU Physicians & Surgeons were considered a state actor, a medical

malpractice claim does not state a constitutional claim under

§ 1983; and (3) the Court lacks subject matter jurisdiction to hear

Plaintiffs’ claim for medical malpractice because Plaintiffs do not

allege a federal claim and have not shown that Plaintiffs are citizens

of one state and all of the defendants are citizens of another state.

     After reviewing the Complaint and the Report and

Recommendation, as well as the applicable law, this Court finds no

clear error.

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     IT IS THEREFORE ORDERED THAT:

     (1)   The Report and Recommendation (d/e 5) is ADOPTED

in its entirety.

     (2)   Plaintiffs’ Motion for Leave to Proceed in District

Court Without Prepaying Fees or Costs (d/e 2) is DENIED.

     (3)   This case is DISMISSED without prejudice for failure

to state a claim.

     (4)   This case is closed.

ENTER: October 19, 2017

FOR THE COURT:

                      s/ Sue E. Myerscough
                     SUE E. MYERSCOUGH
                     UNITED STATES DISTRICT JUDGE




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